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               IN THE UNITED STATES DISTRICT COURT FOR THE

                            EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division


UNITED STATES OF AMERICA
                                                          Docket NoTI:19MJ
                       V.                                 CLASS A MISDEMEANOR
                                                          Initial Appearance: April 30,2019
CHRISTOPHER S. WITT,

               Defendant.


                               CRIMINAL INFORMATION
                        (Count 1 - CLASS A MISDEMEANOR)

       THE UNITED STATES ATTORNEY CHARGES THAT:


       On or about April 15, 2019, at the George Washington Memorial Parkway,in the

Eastern District of Virginia, the defendant, CHRISTOPHER S. WITT,did unlawfully

and forcibly assault, resist, oppose, impede, intimidate or interfere with a law

enforcement officer while engaged in the performance of official duties, such conduct

constituting simple assault.

(Violation of Title 18, United States Code, Section 111(a)(1)).
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